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                   EXHIBIT 2
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                              STATE OF MICHIGAN
             IN THE CIRCUIT COURT FOR THE COUNTY OF KALAMAZOO

                                                                                   !LED
SCO'ITSDALE CAPITAL ADVISORS CORP.,
an Arizona corporation,                                                            bYR 2 0 2018
                                                                                   9TH CIRCUIT COURT
                                                                                 COUNTY OF KALAMAZOO
                 Plaintiff,                                                               / MICHIGAN

v.                                                   Case No: 18-0153-CZ
                                                     Hon. Alexander C. Lipsey
MORNINGLIGHTMOUNTAIN,LLC,a
Michigan limited liability company d/b/a
GoodeTrades.com; MICHAEL GOODE,an
individual; and DOES 1-10, inclusive,


                 Defendants.




                  PLAINTIFF'S FIRST COMPLAINT AND JURY DEMAND

        Plaintiff Scottsdale Capital Advisors Corp., for its Complaint against

MorningLightMountain, LLC d/b/a GoodeTrades.com and Michael Goode, alleges as follows:

                                        INTRODUCTION

        1.       Plaintiff Scottsdale Capital Advisors Corp.("SCA")is a successful securities

broker-dealer.

        2.       In an effort to smear SCA's reputation, MorningLightMountain, LLC d/b/a

GoodeTrades,com and Michael Goode (collectively, "Defendants") published two articles on

their website, www.goodetrades.com,on April 17, 2017 and June 14, 2017 which contained

numerous false, defamatory, and highly misleading statements of and concerning SCA, Among

other things, the articles falsely alleged that SCA is involved in penny stock "pump and dump"

schemes and improperly permits the trading of penny stocks,

                                                 1
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        3.     By this action, SCA seeks to clear its good name and hold Defendants liable for

the harm caused by their misconduct,

                                         THE PARTIES

       4.      Plaintiff Scottsdale Capital Advisors Corp. is, and at all times relevant hereto was,

a corporation organized under the laws of the State of Arizona, with its principal place of

business in Maricopa County, Arizona.

       5.      SCA is informed and believes and based thereon alleges that Defendant

MorningLightMountain, LLC d/b/a GoodeTrades.com ("MorningLightMountain") is, and at all

times relevant hereto was, a corporation organized under the laws of the Michigan, with its

principal place of business in Eaton County, Michigan. SCA is informed and believes and based

thereon alleges that MorningLightMountain owns and operates the website goodetrades.com.

       6.      SCA is informed and believes and based thereon alleges that Defendant Michael

Goode ("Goode") is an individual who resides in Kalamazoo County, Michigan. Upon

information and belief, Goode is the sole owner and officer of Defendant

MorningLightMountain.

       7.      SCA is informed and believes and based thereon alleges that the fictitiously-

named defendants sued herein as Does I through 10, and each of them, are in some manner

responsible or legally liable for the actions, events, transactions and circumstances alleged

herein. The true names and capacities of such fictitiously-named defendants, whether individual,

corporate, or otherwise, are presently unknown to SCA, and SCA will seek leave of Court to

amend this Complaint to assert the true names and capacities of such fictitiously-named

defendants when the same have been ascertained. For convenience, each reference to a named

defendant herein shall also refer to Does 1 through 10. All defendants, including



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MorningLightMountain, LLC d/b/a GoodeTrades.com, Michael Goode, and those referred to

herein as Does 1 through 10, are collectively referred to herein as "Defendants."

                                  JURISDICTION AND VENUE

       8.        This Court has personal jurisdiction over Defendants because they have minimum

contacts with the State of Michigan, and defendant Goode is a domiciliary of the State of

Michigan.

       9.        Venue in Kalamazoo is proper because Defendant resides in Kalamazoo County.

       10,       The amount in controversy exceeds Twenty Five Thousand Dollars($25,000.00)

exclusive of interest, costs, and attorney fees and the matter is otherwise within the jurisdiction

of this Court.

                      FACTS COMMON TO ALL CAUSES OF ACTION

        11.      Founded in 2002, SCA is a full service broker-dealer focused on serving the

microcap securities market, often referred to as the OTC market. In this time, SCA has grown to

become one of the dominant companies in the OTC market, with more than $125 million worth

of trades in 2015.

        12.      On April 17, 2017, Defendants published an article written by Goode on the

website goodettrades.com, entitled "FINRA fines Scottsdale Capital Advisors $1.5 million"(the

"April Article"): https://www.goodetrades.com/2017/04/finra-fines-scottsdale-capital-advisors-1-

5-million/. A true and correct copy of the April Article is attached hereto as Exhibit 1 and

incorporated by this reference,

        13.      The April Article contained numerous statements that are defamatory and outright

false, including:

        a.       False Statement #1: "If you have followed penny stocks and pump and dumps



                                                  3
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for a few years then you know Scottsdale Capital Advisors,"

         In truth, SCA has never been involved in any "pump and dump" schemes, has never been

a defendant in any "pump and dump" lawsuits, and has never been convicted of engaging in

"pump and dump" activity.

         b.     False Statement #2:"They[SCA] are one ofthe few brokers left that have

continued to allow the deposit and sale of shares of illiquid penny stocks. Larger brokers and

discount brokers stopped allowing that over five years ago."

         In truth, numerous large brokers continue to trade in penny stocks, including without

limitation, interactive brokers, Merrill Lynch, Charles Schwab, Scottrade, Cor Clearing, and

TradeKing.

         c.     False Statement #3:"When the big Biozoom(BIZM)pump happened back in

2013 many of the frozen accounts were at Scottsdale Capital."

         In truth, only a handful of accounts at SCA were frozen as a result of Biozoom trading.

Moreover, SCA has never been a defendant in any lawsuit involving the trading of Biozoom

stock.

         14.    On June 14, 2017, Defendants published a second article written on

goodetrades.com by Goode, entitled "SEC Sues Alpine Securities, continuing a run of bad hews

for owner John Hurry"(the "June Article): https://www.goodetrades.com/2017/06/ sec-sues-

alpine-securities-continuing-a-run-of-bad-news-for-owner-john-hurry/. A true and correct copy

ofthe June Article is attached hereto as Exhibit 2 and incorporated by this reference,

         15.    The June Article contains statements that are defamatory and outright false,;

including:

         a.     False Statement #1:"Lest anyone think that these are just minor paperwork



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deficiencies with no real consequences, I remind you that one pump and dump alone, Biozoorn

(BIZM)led to over $17 million in fraudulent profits for manipulators / insiders, and many of

their accounts were at Scottsdale Capital Advisors,"

       In truth, other than hosting a handful of accounts that traded in Biozoom shares, SCA had

nothing to do with the trading of Biozoom shares. Moreover, as discussed above, SCA has never

been involved in any "pump and dump" schemes (including any "pump and dumps" involving

Biozoorn shares), has never been a defendant in any "pump and dump" lawsuits, and has never

been convicted of engaging in "pump and dump" activity.

        16.    On September 21, 2017, SCA's counsel sent a letter to Defendants identifying the

foregoing false statements in the April Article and June Article (collectively, the "Articles"), and

demanding that Defendants remove each one and publish a retraction, correction, and apology as

to each of those statements. Defendants have failed and refused to comply with SCR's demand.

        17.    The false, defamatory, and highly misleading statements written and published by

Defendants have caused and are continuing to cause SCA economic harm and damage to its

reputation. Accordingly, SCA has no alternative but to file this lawsuit for compensatory

damages, punitive damages, and injunctive relief, as explained more fully herein.

                                         COUNT ONE
                                    (Against All Defendants)
                                         (Defamation)

        18.    SCA incorporates by reference all ofthe preceding paragraphs as though fully

restated herein.

        19.    Defendants wrote and published the defamatory statements of fact about SCA

referred to in Paragraphs 13 and 15 herein (collectively, the "Defamatory Statements").




                                                  5
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        20,    The Defamatory Statements are false. Moreover, the statements, individually and

jointly, tend to so harm the reputation of Plaintiff as to lower its reputation in the community or

deter third persons from associating or dealing with it.

       21.     The Defamatory Statements involve materially false implications.

       22,     The Defamatory Statements have caused SCA to be damaged.

       23.     Defendants have refused to retract, correct or apologize for the Defamatory

Statements after being given notice and ample time to do so.

       24.     As a direct and proximate result of Defendants' conduct, SCA has suffered

damages to its reputation and business interests in an amount to be determined at trial, and in an

amount not less than the jurisdictional minimum of this Court. SCA's damages may also be

presumed because the Defamatory Statements impute to SCA offenses regarded by public

opinion as involving moral turpitude, and unfitness for the proper conduct of its lawful business,

trade, and profession.

       25.     SCA is a private figure for purposes of a defamation analysis.

       26.     Notwithstanding SCA's status as a private figure, at the time the Defamatory

Statements were published, Defendants knew the Defamatory Statements were false and/or acted

in reckless disregard of whether the Defamatory Statements were true or false. As such, in

addition to compensatory damages and/or presumed damages, SCA is entitled to an award of

punitive damages in an amount to be determined at trial,

                                        COUNT TWO
                                   (Against All Defendants)
                               (Invasion of Privacy: False Light)

       27.     SCA incorporates by reference all of the preceding paragraphs as though fully

restated herein.



                                                 6
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        28.     Defendants' publication ofthe Defamatory Statements also caused there to be

publicity concerning SCA that placed SCA in a false light in the public eye.

        29.     By publishing the Defamatory Statements, Defendants broadcast to the public in

general, or to a large number of people, information that was unreasonable and highly

objectionable by attributing to SCA characteristics and/or conduct that were false and placed

SCA in a false position.

        30.     At the time Defendants published statements, they knew the Defamatory

Statements were false and/or acted in reckless disregard as to the falsity of the publicized matter

and the false light in which SCA would be placed.

        31.     Defendants' conduct was not for any proper purpose, nor was it within the scope

of Defendants' authority or otherwise immune or privileged.

        32.    As a direct and proximate result of Defendants' conduct, Plaintiff has suffered

damages in an amount to be determined at trial, and in an amount not less than the jurisdictional

minimum of this Court.

        33.    Defendants' conduct deliberately and intentionally injured the Plaintiff; their acts

were willful and malicious and are not dischargeable in bankruptcy.

                                    JURY TRIAL DEMAND

       SCA hereby demands a jury trial of all issues in this case.

                                    PRAYER FOR RELIEF

        WHEREFORE,SCA requests that judgment be entered against the Defendants, and each

ofthem, as follows:

        A.     For compensatory, consequential, exemplary, and punitive damages in an amount

to be determined at trial;



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  Case 1:18-cv-00533 ECF No. 1-2 filed 05/11/18 PageID.33 Page 9 of 15




       B.      For pre- and post-judgment interest on the foregoing sum at the highest lawful

rate from entry ofjudgment until paid in full;

       C.      For an injunction enjoining further publication of the Defamatory Statements;

       D.      For SCA's costs of suit; and

       E.      For all other relief the Court deems appropriate.


Dated: April 19, 2018                         Respectfully submitted,

                                              DEBORAH GORDON LAW


                                              By       /Deborah L. Gordon(P27058)
                                                       Attorney for Plaintiff
                                                       33 Bloomfield Hills Parkway, Suite 220
                                                       Bloomfield Hills, Michigan 48304
                                                       (248)258-2500
                                                       dgordon@deborahgordonlaw.com

                                              AND

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                                              146 Monroe Center Street, NW,Suite 805
                                              Grand Rapids, Michigan 49503
                                              (616)451-8496
                                              hpinsky@ostklaw.com



                                                   HARDER LLP


                                                                            4.--ft._
                                              By               (4      al
                                                   Charles J. Hatrder(pro hac vice to be filed)
                                                   Jordan Susman (pro hac vice to be filed)
                                                   132 S. Rodeo Drive, Fourth Floor
                                                   Beverly Hills, California 90212
                                                   Attorneys for Plaintiff




                                                   8
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4/19/2018                                                    FINRA fines Scottsdale Capital Advisors $1.5 million — Goode Trades

                                                                        GOODE TRADES
                                                    The Best Source for Stock Promotion & Penny Stock News and Insight




              FINRA fines Scottsdale Capital
              Advisors $1.5 million
              April 17, 2017 I By Michael Goode I All Categories, Fraud, Microcap, SEC actions

              If you have followed penny stocks and pump and dumps for a few years then you
              know Scottsdale Capital Advisors (hereafter referred to as Scottsdale Capital). They are
              one of the few brokers left that have continued to allow the deposit and sale of shares
              in illiquid penny stocks. Larger brokers and discount brokers stopped allowing that
              over five years ago. When the big Biozoom (BIZM) pump happened back In 2013 many
              of the frozen accounts were at Scottsdale Capital.

              On March 31st, FINRA fined Scottsdale Capital $1.5 million. unfortunately I cannot find
              any public posting of that news so the prior link is to a Stockwatch article (full article
              only available to subscribers; see this copy if not a subscriber), In addition to the fine,
              John Hurry, owner of Scottsdale Capital, was permanently banned from working in the
              securities industry.

              The full 111-page FINRA decision can be found on their website. Unfortunately FINRA
              prevents direct-linking so you need to go to http://disciplinaryactions.finra.org/Search/
              and then enter John Hurry" as the name. I have downloaded a copy of the decision in
              case they delete it.

              Excerpt from the decision:


                Hurrys violation of his duty to observe high standards of commercial honor and
                just and equitable principles of trade was purposeful and egregious. These two
                qualities lead us to conclude that Hurry Is a threat to Investors and the integrity of
                the markets. Our concern is compounded by our credibility findings. we found
                that he repeatedly testified falsely, and that there was a pattern of doing so when
              ' he thought no contradictory evidence would come to light,

                 When misconduct Is intentional, General Principle 1 provides that adjudicators
                should 572 assess sanctions that exceed the recommended range in the
                Guidelines, Principal Consideration 13 also focuses on whether a respondent's
                 misconduct is the result of an Intentional act, recklessness, or negligence.573
                When a violation Is egregious, the Guidelines often suggest more severe
                sanctions. In egregious cases in connection with violations of Rule 2010 and
                Section 5, the specific Guidelines recommend that an individual be suspended for
                up to two years or barred.

                Even though he has no disciplinary history, the devious nature of Hurry's violation
                evidences disregard for regulatory requirements, an aggravating factor under
                General Principle 2 and Principal Consideration 10.574 We have no confidence
                that if he remained in the securities industry he would not again devise a way to
                evade the law and regulatory requirements, For this reason also, we believe Hurry
                is a threat to the investing public.


             The decision also shows Just how remunerative running Scottsdale Capital has been
             for Hurry — In 2014 he and (sls wife made "approximately $6.2 million in directors'
             fees and $1.45 million in net income."




             Disclaimer. No position in any stocks mentioned and f have no relationship with
             anyone mentioned in this post. This blog has a terms ofuse that is incorporated
             by reference Into this post• you can find all my disclaimers and disclosures there
             as well.

https://www.goodetrades.com/2017/04/finra-fines-scotIsdale-capItal-advisors-1-5-million/                                           112
            Case 1:18-cv-00533 ECF No. 1-2 filed 05/11/18 PageID.35 Page 11 of 15


4/19/2018                                   SEC Sues Alpine Securities, continuing a run of bad news for owner John Hurry — Goode Trades

                                                                        GOODE TRADES
                                                    The Best Source for Stock Promotion & Penny Stock News and Insight




             SEC Sues Alpine Securities,
             continuing a run of bad news for
             owner John Hurry
             June 14, 2017 I By Michael Goode I All Categories, All Categories, Fraud, Microcap, SEC actions,
             Stock Promotions


             As I wrote back In April, FINRA fined Scottsdale Capital Advisors 51.5 million for doing
             a really poor job at preventing illegal sales by penny stock insiders(FINRA Rule 2010).
             The owner, John). Hurry, was barred from the industry. The full 111-page FINRA
             decision can be found on their website. Unfortunately FINRA prevents direct-linking so
             you need to go to http://disciplinaryactions.finra.orgiSearch/ and then enter "John
             Hurry as the name. I have downloaded a copy of the decision In case they delete it.

             From the FINRA report:


                The Respondent firm violated FINRA Rule 2010 by selling securities without
                registration and without an exemption, in contravention of Section 5 of the
                Securities Act of 1933. The firm's owner, Respondent John Hurry, also
                violated Rule 2010, because he engaged in activities designed to enable the
             is
                unlawful transactions and evade regulatory scrutiny.

                The Respondent firm and its Chief Compliance Officer, Respondent Timothy
                DiBlasi, violated NASD Rules 3010(a)and (b)and FINRA Rule 2010 by
                failing to establish and maintain a supervisory system, including written
                supervisory procedures, reasonably designed to ensure that the firm
                complied with Section 5 of the Securities Act.

                The Respondent firm arid Its President, Respondent Michael Cruz, violated
                NASD Rule 3010(b) and FINRA Rule 2010 by falling to supervise and failing
                to respond appropriately to numerous red flags indicative of unlawful
                unregistered distributions.

                The Respondent firm is fined $1.5 million. Hurry Is barred in all capacities.
                He would also be fined $100,000, but, In light of the bar, the fine is not
                Imposed. DiBlasi is suspended for two years and fined $50,000. Cruz Is
                suspended for two years and fined $50,000. In addition, Respondents are
                ordered to pay costs, for which they are jointly and severally liable.


             From the same FINRA report,John "Hurry is a threat to the investment public." The
             SEC must agree because on June 5, 2017 they sued Alpine Securities, which is another
             broker specializing in penny stocks owned by John Hurry.

             The FINRA report on Scottsdale and Hurry describes the close relationship among
             them, Alpine Securities, and CSCT, which was based In the Cayman Islands.


               Respondent Hurry thus owns and controls all three firms involved in the
               transactions at
               issue In this proceeding-Scottsdale, Alpine, and CSCT. In fact, the three firms were
               almost a
               self-contained system for processing and distributing mIcrocap securities. CSCT
               did all its
               business through Scottsdale, and Scottsdale in turn did all its business with
               Alpine. Alpine's
               current CEO described Alpine as a small"boutique" clearing firm with a focus on
               the kind of
               business brought to it by CSCT. No independent third party was involved In
https://www.goodetrades.com/2017/06/sec-sues-alpine-securilies-continuing-a-run-of-bad-news-for-owner-john-hurry/                          1/4
              Case 1:18-cv-00533 ECF No. 1-2 filed 05/11/18 PageID.36 Page 12 of 15


, 4/19/2018                                SEC Sues Alpine Securities, continuing a run of bad news for owner John Hurry — Goode Trades
                 preparing,
                  approving, or clearing the deposits of stock certificates by CSCT at Scottsdale for
              1., resale.


              SEC litigation release against Alpine Securities
              SEC complaint against Alpine securities(PDF)

              From the litigation release against Alpine Securities:


                 Securities and Exchange Commission v. Alpine Securities Corporation

                 Civil Action No. 7:17-CV-4179 (S.u.N.Y., filed June 5, 2017)

                 SEC CHARGES BROKERAGE FIRM WITH FAILING TO COMPLY WITH ANTI-MONEY
               . LAUNDERING LAWS

                 Washington D.C.,Jun. S, 2017 - The Securities and Exchange Commission today
                 charged a Salt Lake City-based brokerage firm with securities law violations
                 related to its alleged practice of clearing transactions for microcap stocks that
                 were used in manipulative schemes to harm investors.

                 To help detect potential securities law and money-laundering violations, broker-
                 dealers are required to file Suspicious Activity Reports(SARs) that describe
              ,' suspicious transactions that take place through their firms. The SEC's complaint
                 alleges that Alpine Securities Corporation routinely and systematically failed to
                 file SARs for stock transactions that it flagged as suspicious. When it did file SARs,
                 Alpine Securities allegedly frequently omitted the very information that formed
                 the bases for Alpine knowing, suspecting, or having reason to suspect that a
                 transaction was suspicious. As noted in the complaint, guidance for preparing
                 SARs from the U.S. Treasury Department's Financial Crimes Enforcement Network
                (FinCEN) clearly states that "(e)xplaining why the transaction is suspicious is
                 critical:'

                 The SECS complaint charges Alpine Securities with thousands of violations of
                 Section 17(a)of the Securities Exchange Act of 1934 and Rule 17a-8.


              From the complaint, the SEC alleges:


              I' This case concerns Alpine's practices relating to filing Suspicious Activity
                 Reports("SARs") with the U.S. Treasury Department's Financial Crimes
              '; Enforcement Network
                 ("FinCEN"). Alpine acts as a clearing firm for many microcap over-the-counter
                 ("OTC")stock
                 transactions. Since 2011, Alpine has cleared thousands of deposits of microcap
                 securities, most
                of them involving Scottsdale Capital Advisors Corp.("Scottsdale") as the
                introducing broker,
                and many of which were used as part of various stock manipulation and other
                schemes


              Alpine's alleged failures with regard to filing suspicious activity reports(SARs)seem
              egregious:


                Systematically omitting from at least 1,950 SARs material,"red-flag" information
                of
                which It was aware and was required to report under its own BSA Compliance
                Program, such as a custorner or issuer's criminal or regulatory history, evidence
                of
                stock promotion, or whether a customer was a foreign financial institution,
                Including
                at least 1,150 SARs which included only the customer name, date of deposit,
                dollar
                value of deposit, and the name of the security deposited;
 https://www.goodetrades.com/2017/06/sec-sues-alptne-securities-continulng-a-run-of-bad-news-for-owner-john-hurry/                        2/4
             Case 1:18-cv-00533 ECF No. 1-2 filed 05/11/18 PageID.37 Page 13 of 15


4/19/2018                                 SEC Sues Alpine Securities, continuing a run of bad news for owner John Hurry — Goode Trades

                 Filing SARs only on the deposit of stock in approximately 1,900 instances in
              ! which
                the stock was subsequently liquidated, but failing to file required SARs on
                subsequent
                related transactions such as the liquidation, or transfer of funds resulting from
                the
                liquidation. even though It had identified the deposit of the security as suspicious;
                and
                • Failing to tile at least 250 SARs within the required 30 days after the date the
                suspicious activity was detected.


             Alpine has previously been investigated and cited by FINRA for Inadequate SARs In
             2012 and 2015.

             Lest anyone think that these are just minor paperwork deficiences with no real
             consequences, I remind you that one pump and dump alone, Biozoom (BIZM), led to
             over $17 million in fraudulent profits for manipulators / Insiders, and many of their
             accounts were at Scottsdale Capital Advisors,

             One interesting thing I noticed: this lawsuit against Alpine Securities came on June 5th,
             which is exactly the day that the bar against a couple employees of Scottsdale Capital
             Advisors began. From the FINRA complain from April(emphasis mine):


                V. CONCLUSION

                The Firrn, Scottsdale Capital Advisors, violated FINRA Rule 2010, Accordingly, it is
                ordered to pay a fine of$ 1.5 million.John ). Hurryviolated FINRA Rule 2010. For
                his
                misconduct he is barred from association with any FINRA member in any
                capacity. He would be
                fined $100,000, but, In light ofthe bar, the fine Is riot imposed. Timothy B. DiBlasl
                violated
                NASD Rules 3010(a) and (b)and FINRA Rule 2010. For his misconduct, he is
                suspended for
                two years from association with any FINRA member in any capacity and fined
                $50,000. D.
                Michael Cruz violated NASD Rule 3010(b)and FINRA Rule 2010. For his
                misconduct, he is
                suspended for two years from association with any FINRA member in any
                capacity and fined
                $50,000.

                Respondents are also ordered to pay costs in the amount of$22,124.29, which
                includes a
                $750 administrative fee and $21,374.29 for the cost of the transcript. If this
                decision becomes
                FINRA's final disciplinary action, Hurry's bar will take immediate effect. DiBlasi's
               and Cruz's
               suspension will begin with the opening of business on June 5, 2017 The fines
             1"; and assessed costs
                shall be due on a date set by FINRA, but not sooner than 30 days after this
               decision becomes
               FINRA's final disciplinary action in this proceeding.




             Disclaimer. I have no position in any stock mentioned above. I was long BIM
             when trading In It was suspended by the SEC and lost money because of that. I
             have no relationship with any parties mentioned above. This blog has a terms of
             use that is Incorporated by reference Into this post,•you can find all my
             disclaimers and disclosures there as well.




https://www.goodetrades.com/2017/06/sec-sues-alpine-securities-continuing-a-run-of-bad-news-for-oWner-John-hurry/                        3/4
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4/19/2018                               SEC Sues Alpine Securities, continuing a run of bad news for owner John Hurry — Goode Trades




                 One thought on "SEC Sues Alpine
                 Securities, continuing a run of bad
                 news for owner John Hurry"

                           krst says:
                           June 14, 2017 at 4:22 pm
                           This Is why you're a millionaire Imo. Because you do what others
                           don't! Nice work.Thanks for posting!




https://www.goodetrades.com/2017/06/sec-sues-alpine-securities-continuing-a-run-of-bad-news-for-owner-john-hurry/                      4/4
            Case 1:18-cv-00533 ECF No. 1-2 filed 05/11/18 PageID.39 Page 15 of 15


4119/2010                                 SEC Sues Alpine Securities, continuing a run of bad news for owner John Hurry — Goode Trades
                  Filing SARs only on the deposit of stock in approximately 1,900 Instances In
                which
                the stock was subsequently liquidated, but failing to file required SARs on
                subsequent
                related transactions such as the liquidation, or transfer of funds resulting from
                the
                liquidation. even though It had identified the deposit of the security as suspicious;
                and
                • Failing to file at least 250 SARs within the required 30 days after the dare the
                suspicious activity was detected.


             Alpine has previously been investigated and cited by FINRA for inadequate SARs in
             2012 and 2015.

             Lest anyone think that these are just minor paperwork deficiences with no real
             consequences, I remind you that one pump and dump alone, Blozoom (BIZM), led to
             over 517 million in fraudulent profits for manipulators / Insiders, and many of their
             accounts were at Scottsdale Capital Advisors,

             One interesting thing I noticed: this lawsuit against Alpine Securities came on June 5th,
             which is exactly the day that the bar against a couple employees of Scottsdale Capital
             Advisors began. From the FINRA complain from April(emphasis mine):


                V. CONCLUSION

                The Firrn, Scottsdale Capital Advisors, violated FINRA Rule 2010. Accordingly, it Is
                ordered to pay a fine of$ 1,5 million. John J. Hurryviolated FINRA Rule 2010. For
                his
                misconduct he is barred from association with any FINRA member in any
                capacity. He would be
                fined $100,000, but, in light ofthe bar, the fine is not imposed. Timothy R. DIBlasi
               violated
               NASD Rules 3010(a)and lb)and FINRA Rule 2010. For his misconduct, he is
               suspended for
               two years from association with any FINRA member In any capacity and fined
               $50,000. D.
               Michael Cruz violated NASD Rule 3010(b) and FINRA Rule 2010. For his
               misconduct, he is
               suspended for two years from association with any FINRA member In any
               capacity and fined
               $50,000.

               Respondents are also ordered to pay costs in the amount of$22,124.29, which
               Includes a
               $750 administrative fee and $21,374.29 for the cost of the transcript. If this
               decision becomes
               FINRA's final disciplinary action, Hurry's bar will take immediate effect. DiBlasi's
               and Cruz's
               suspension will begin with the opening of business on June 5, 2017 The fines
               and assessed costs
               shall be due on a date set by FINRA, but not sooner than 30 days after this
               decision becomes
               FINRA's final disciplinary action in this proceeding.




             Disclaimer. / have no position In any stock mentioned above. I was long DIZM
             when trading in it was suspended by the SEC and lost money because of that. I
             have no relationship with any parties mentioned above. This blog has a terms of
             use that is incorporated by reference into this post;you can find all my
             disclaimers and disclosures there as well.




https://www.goodetrades.com/2017/06/sec-sues-alpine-securities-continuing-a-run-of-bad-news-for-owner-john-hurry/                        3/4
